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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


     FEDERAL TRADE COMMISSION,

                    Plaintiff,
                                                            Case No. 1:20-cv-03590-JEB
               v.

     META PLATFORMS, INC.,

                    Defendant.


                            DECLARATION OF PATRICIA GALVAN

I, Patricia Galvan, declare as follows:

1.      I am the Assistant Director of the Technology Enforcement Division of the Federal Trade
        Commission (“FTC” or “Commission”). I am the head of the department possessing
        control over the requested information.

2.      I have served at the FTC for 23 years. Prior to my appointment as Assistant Director of
        the FTC’s Technology Enforcement Division, I served as Deputy Assistant Director in the
        Mergers III Division for over 10 years. Prior to that, I served as a staff attorney in the
        Mergers III Division starting in 1999. During my tenure with the FTC, I have participated
        in many investigations in a variety of industries, including technology markets.

3.      On December 9, 2020, Plaintiff filed a federal complaint in the above-captioned matter
        alleging that Defendant Meta (f/k/a Facebook) is illegally maintaining its personal social
        networking monopoly through a years-long course of anticompetitive conduct in violation
        of Section 2 of the Sherman Act. I was the Assistant Director overseeing the investigation
        that led to the filing of the complaint in this matter. As a part of directing the investigation
        that resulted in the above-captioned case (“Pre-Complaint Investigation”), I also have
        knowledge about the FTC’s previous investigations of Facebook’s proposed acquisition of
        Instagram in 2012 (“Instagram Investigation”) and Facebook’s proposed acquisition of
        WhatsApp in 2014 (“WhatsApp Investigation”).

4.      The statements made herein are based upon my personal knowledge, review of agency
        records, and upon the knowledge of persons who report directly or indirectly to me or on
        whom I rely in the ordinary course of carrying out my duties as Assistant Director of the
        Technology Enforcement Division. I have personally reviewed the documents at issue.




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5.    I make this declaration in support of Plaintiff’s Opposition to Defendant Meta’s Motion to
      Compel Answer to Interrogatory No. 2, which was filed in the above-captioned case on
      March 13, 2023.

6.    On March 13, 2023, Defendant Meta filed a Motion to Compel Answer to Interrogatory
      No. 2 related to internal FTC staff notes related to confidential interviews of third parties
      conducted by FTC staff during the Instagram Investigation and WhatsApp Investigation.

7.    As Assistant Director overseeing the investigation that led to the filing of the complaint in
      the above-captioned case as well as my 10-plus years of experience as Deputy Assistant
      Director in the Mergers III Division, I am familiar with the processes used during the Pre-
      Complaint Investigation, Instagram Investigation, and WhatsApp Investigation.

8.    As part of the investigation process for all of these investigations, FTC attorneys contacted
      third parties who are knowledgeable about the industry in which the potentially merging
      parties or party under investigation conduct business.

9.    Prior to conducting these interviews, FTC attorneys typically draft outlines of questions to
      ask the interviewees. To determine which questions to include in the outline and how to
      phrase the questions, the attorneys rely on their opinions of the information that is likely to
      be relevant and necessary for them to analyze the proposed mergers or conduct and evaluate
      any potential anticompetitive effects the proposed mergers or conduct might cause. These
      proposed questions are discussed and debated among attorneys on the matter who provide
      their opinions on what information is relevant and needed to analyze the mergers and
      conduct and what questions should be asked to elicit that information. Attorneys lead the
      questioning during interviews.

10.   FTC staff members involved in these investigational third-party interviews typically
      include staff from both the Bureau of Competition and Bureau of Economics, including
      FTC attorneys, as well as economists, legal interns, and/or paralegals acting at the FTC
      attorneys’ direction. In most instances, third parties provide information requested by FTC
      staff during the interview on a confidential basis. As a part of an interview, FTC staff
      typically explain to third parties its statutory obligation to keep investigative material
      confidential and that information provided is exempt from Freedom of Information Act
      (“FOIA”) disclosure.

11.   These interviews with third parties are not tape recorded, nor is any attempt made to create
      a verbatim statement of the information conveyed. Instead, the FTC participants synthesize
      the questions asked and the information provided, and take notes based on their mental
      impressions of select parts of the interview. FTC attorneys are not instructed to, and do
      not attempt to, record everything that is said, but instead record points they regard as
      important or otherwise want to memorialize. Because attorneys need to make
      determinations on what to include in their notes and how to phrase the responses to the
      questions asked, interview notes reflect the attorneys’ subjective interpretations of what
      was asked and what was said, and their impressions of the information provided. These
      FTC staff interview notes are kept internal to the FTC and used for purposes of



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       investigating FTC’s cases, preparing the cases for litigation, and making recommendations
       about litigation to the Commission.

12.    Frequently, the interviewees on these calls are unsure how to accurately answer, or provide
       precise information, in response to the questions posed by the FTC staff attorneys. And
       these interviews were not sworn statements provided under penalty of perjury and are
       voluntary rather than the product of compulsory process.

13.    FTC attorneys often separately also collect more specific information through analysis of
       documents or data provided in response to a Civil Investigative Demand (“CID”) or
       Subpoena Duces Tecum (“SDT”) issued to the interviewee’s company by the FTC.

14.    As a part of their discovery responses and productions in this matter, FTC staff already
       produced non-privileged third-party information and productions in their possession from
       the Instagram and WhatsApp Investigations to Defendant Meta. See ECF No. 160-6 (Jul.
       19. 2022) (Declaration of Daniel Matheson in Support of Plaintiff Federal Trade
       Commission’s Opposition to Defendant Meta Platforms, Inc.’s Motion to Compel
       Production of 2012 and 2014 FTC Memoranda); see also ECF No. 253-3 (FTC’s
       Objections and Responses to Interrogatories Nos. 1 and 2 (served Apr. 29, May 27, and
       Oct. 7, 2022).

15.    FTC attorneys performed the investigation processes described above for the Pre-
       Complaint Investigation, Instagram Investigation, and WhatsApp Investigation in
       contemplation of litigation. They interviewed industry participants, and FTC staff drafted
       interview notes with the prospect of action by the FTC against the parties involved in the
       proposed merger or conduct being investigated. In addition, economists from the FTC’s
       Bureau of Economics participated in the interviews to assist the Bureau of Competition to
       prepare for possible litigation.

16.    As described above, the FTC staff interview notes reflect attorneys’ thought processes,
       mental impressions, strategies, and other work in contemplation of litigation. The FTC
       staff interview notes reflect and reveal Plaintiffs’ attorneys’ thought processes, mental
       impressions, strategies and other work in determining what areas of inquiry are relevant to
       FTC investigations in contemplation of litigation, what questions should be asked to elicit
       information deemed relevant to these investigations, and what information should be
       recorded as relevant to them.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this 22th day of March, 2023, in Washington, DC.




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                                    Respectfully submitted,

                                    PATRICIA             Digitally signed by PATRICIA
                                                         GALVAN

                                    GALVAN               Date: 2023.03.22 13:11:24
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                                       Patricia Galvan




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